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                      Toshiba Exhibit H
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                                               13                           UNITED STATES DISTRICT COURT
                                                                           NORTHERN DISTRICT OF CALIFORNIA
                                               14
                                                                              (SAN FRANCISCO DIVISION)
                                               15
                                               16
                                                    IN RE: CATHODE RAY TUBE (CRT)                          Case No. 07-5944 SC
                                               17   ANTITRUST LITIGATION                                     MDL No. 1917
                                               18
                                               19   This Document Relates to:                 TOSHIBA ENTITIES’ SECOND AMENDED
                                               20
                                                    ALL ACTIONS                               RULE 26(A)(1) INITIAL DISCLOSURES
                                               21
                                               22          Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America Electronic
                                               23   Components, Inc., Toshiba America Information Systems, Inc., and Toshiba America
                                               24   Consumer Products L.L.C. (collectively, the “Toshiba Entities”) hereby amend their prior
                                               25   initial disclosures, pursuant to Rules 26(a)(1) and 26(e) of the Federal Rules of Civil
                                               26   Procedure.
                                               27
                                               28


                                                             TOSHIBA ENTITIES’ SECOND AMENDED RULE 26(A)(1) INITIAL DISCLOSURES
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                                                1          The Toshiba Entities provide these Second Amended Initial Disclosures (the
                                                2   “Disclosures”) based on information presently available to the Toshiba Entities and based on
                                                3   a good-faith inquiry into the facts relating to the alleged subject matter of these actions.
                                                4          Nothing in these Disclosures shall be construed as a waiver of the attorney-client
                                                5   privilege, attorney work-product doctrine, or any other applicable privilege, protection, or
                                                6   doctrine. The Toshiba Entities reserve the right to object to the testimony of any of the
                                                7   witnesses identified herein and to the production or introduction into evidence of any
                                                8   document within the categories set forth herein on the basis of privilege, relevance, or any
                                                9   other applicable objection.
                                               10          Nothing in these Disclosures shall be construed as an admission or acceptance by the
                                               11   Toshiba Entities of the relevance or admissibility of any witness, document, or fact in these
                                               12   Disclosures.
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                                               13          The Toshiba Entities’ investigation of the facts relating to Plaintiffs’ Complaints is
                                               14   ongoing, and the Toshiba Entities reserve the right to modify, amend, or supplement these
                                               15   Disclosures pursuant to Rule 26(e) of the Federal Rules of Civil Procedure and the Local
                                               16   Rules of Practice in Civil Proceedings before the United States District Court for the
                                               17   Northern District of California.
                                               18          These Disclosures are made only for the purpose of this action and are subject to the
                                               19   provisions of the Stipulated Protective Order entered on June 18, 2008 (the “Protective
                                               20   Order”).
                                               21          All of the Disclosures below are subject to the above limitations, objections, and
                                               22   qualifications.
                                               23          I.         Rule 26(a)(1)(A)(i): Individuals Likely to Have Discoverable Information
                                               24          In addition to those individuals who have previously been deposed or who were
                                               25   otherwise identified in any of the actions in this MDL, throughout the course of discovery in
                                               26   this matter the Toshiba Entities have identified the following additional individuals who may
                                               27   have information that the Toshiba Entities may use to support their claims or defenses in the
                                               28   areas indicated for them:

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                                                1          Clayton Bond, Michael Du, Charles Farmer, Norio Fujita, Tomoyuki Kawano, Koji
                                                2   Kurosawa, John Milliken, Kazuhiro Nishimaru, Kazutaka Nishimura, Dan Ryan, Shigekazu
                                                3   Shibata, Mio Tamba, Shinichiro Tsuruta, Yoshiaki Uchiyama, Yasuki Yamamoto: CRT
                                                4   manufacturing, CRT pricing and sales, the CRT and CRT finished product markets, CRT
                                                5   technology, and the allegations in the complaints. Clayton Bond, Michael Du, Tomoyuki
                                                6   Kawano, Kazutaka Nishimura, and Yasuki Yamamoto were also custodians of documents
                                                7   produced to Plaintiffs. In addition, Yoshiaki Uchiyama, Koji Kurosawa, and Mio Tamba
                                                8   provided Rule 30(b)(6) testimony to Plaintiffs, and Kazuhiro Nishimaru, Dan Ryan,
                                                9   Shinichiro Tsuruta, and Yasuki Yamamoto were deposed by Plaintiffs as percipient
                                               10   witnesses.
                                               11          Charles Farmer, Jay Heinecke, Richard Huber, Scott Ramirez: CRT finished product
                                               12   manufacturing, CRT purchasing, CRT finished product pricing and sales, and the allegations
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                                               13   in the complaints. Jay Heinecke and Scott Ramirez were also custodians of documents
                                               14   produced to Plaintiffs. In addition, Jay Heinecke and Richard Huber provided Rule 30(b)(6)
                                               15   testimony to Plaintiffs.
                                               16          The Toshiba Entities further intend to rely on witnesses identified in other
                                               17   Defendants’ disclosures and discovery responses, witnesses employed by other Defendants,
                                               18   and witnesses from customers or other third parties not yet identified.
                                               19          II.     Rule 26(a)(1)(A)(ii): Documents to Support Claims or Defenses
                                               20          The Toshiba Entities have made documents, data compilations, and tangible items
                                               21   that are in the possession, custody, or control of the Toshiba Entities, and which the Toshiba
                                               22   Entities may use to support their claims or defenses, available for review by Plaintiffs. To
                                               23   the extent there are additional documents, the Toshiba Entities will produce those documents
                                               24   as they are identified. The Toshiba Entities’ documents are principally located in Irvine,
                                               25   California, and Tokyo, Japan. The Toshiba Entities reserve the right to use documents
                                               26   produced by other parties or by non-parties to the litigation as well as documents used in
                                               27   depositions, pleadings, or filings by any party.
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                                                1           III.    Rule 26(a)(1)(A)(iii): Damages
                                                2           Not applicable. The Toshiba Entities have not yet made any claims for damages in
                                                3   this action.
                                                4           IV.    Rule 26(a)(1)(A)(iv): Insurance Agreements
                                                5           The Toshiba Entities continue to review and analyze whether it has any such
                                                6   insurance agreements.
                                                7   Dated: October 1, 2014
                                                8
                                                                                              By: ______________________________
                                                9
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                                                                                                  Electronic Components, Inc., Toshiba
                                               18
                                                                                                  America Information Systems, Inc., Toshiba
                                               19                                                 America Consumer Products, L.L.C.
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                                                1                              CERTIFICATE OF SERVICE
                                                2        On October 1, 2014, I caused a copy of “TOSHIBA ENTITIES’ SECOND
                                                3   AMENDED RULE 26(A)(1) INITIAL DISCLOSURES” to be served via email upon:
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                                               25
                                               26
                                               27
                                               28                                                 Dana E. Foster



                                                           TOSHIBA ENTITIES’ SECOND AMENDED RULE 26(A)(1) INITIAL DISCLOSURES
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